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                           UNITED STATES DISTRICT COURT
                                                    for the
                                        SOUTHERN DISTRICT OF NEW YORK


  Abby Musick; Mari Cartagenova; Kevin Mansfield                                  )
                                                                                  )
                                Plaintiff                                         )
                                                                                  )
                                   v.                                             )   Civil Action No. 1:25-cv-01718-PKC
                                                                                  )
                                                                                  )
               DOTDASH MEREDITH, INC.
                                                                                  )
                                                                                  )
                               Defendant


                                               AFFIDAVIT OF SERVICE


Javon Cummings, affirms and says that, the Deponent is not a party herein, is over the age of 18 years and
resides in the state of New York.That on March 5, 2025, at 12:51 pm at 28 Liberty Street, New York, NY
10005, Deponent served the within Summons In A Civil Action, Class Action Complaint, with the index
number and filing date of the action were endorsed upon the face of the papers so served herein. On:
DotDash Meredith (hereinafter referred to as "subject") by leaving the following documents with Vincenza
Cipriano who as Intake Specialist at C T Corporation is authorized by appointment or by law to receive
service of process for DotDash Meredith.


My perception of the description of the individual served is as follows:
White Female, est. age 55-64, glasses: N, Brown hair, 120 lbs to 140 lbs, 5' to 5' 3".
Geolocation of Serve: https://google.com/maps?q=40.7077613877,-74.00921335
Photograph: See Exhibit 1


Total Cost: $95.00

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.


    I asked the person spoken to, on whether the subject was in active military service or financially dependent upon any one who
    is in the military service of the United States or the State of New York in any capacity whatsoever and received a negative
    reply. The source of my information and belief are the conversations above narrated. Upon that information and belief I assert
    that the recipient is not in the military service of New York State or of the United States as that term is defined either in the
    State or Federal statutes.




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                                                        /s/ Javon Cummings
Executed in
                                                        Signature
   Queens County                                 ,      Server Name: Javon Cummings
   NY         on    3/7/2025               .            License#: 20236513-DCA


              PROOF TECHNOLOGY NEW YORK , LLC 1800 Gaylord Avenue, Denver, CO 80206 License # 2103684-DCA




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